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                            Exhibit 8
           Case
3/17/22, 10:23 AM 3:22-cv-00151-LL-MDD               Document 9-11Jornaya
                                                                       Filed
                                                                          Visual03/21/22
                                                                                 Player                     PageID.382               Page 2
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  VISUAL PLAYBACK                                                                LeadiD: 2805DCCA-FFD0-5D22-5C05-ADE982CADE53
                                                                                 LeadiD Created: May 14, 2021 18:17:57 GMT+0000


  Display Update 2:01
                                                                                                              Come back daily for new freebies!

                                                         2:04 / 3:02
                               x1
                                                                                                               Order In Process
       Match Data            Audit Results           FAQs                                                   Cost: $0.00
                                                                                                               Shipping : $0.00
   MATCH DATA                                                                                                  Total: $0.00
   Enter values to see if those values match what was
   actually entered during the lead event.

    First Name
                                                                                                     Thank you!
    Last Name                                                                      Verify below to qualify for your free item.

                                                                          Phone:
    Phone

    Email
                                                                          By continuing, I consent to receiving SMS text messages and phone calls
   To see if additional fields match, enter the data                      with information about free samples and other offers from Getitfree.us at this
   values in the fields below                                             number. I understand that texts and calls may be generated using
                                                                          automated technology including autodialers, which may contain pre-
                                                                          recorded messages and that my consent is not required as a precondition
                                                                          for receiving any goods or services. Reply HELP for help, or STOP to opt
                                                                          out to any text message. 1 msg/day, Message and data rates may apply.
                                                                          SMS Privacy Policy, Privacy Policy, Terms of Service.




          Add Field                                                                                Continue
    - Match
    - No Match Found
    - Match to URL Parameter Value
                                                                                                         Privacy Policy
       Visual Playback Data Overlay 




                                                                                                                                          
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https://vp.leadid.com/playback/2805DCCA-FFD0-5D22-5C05-ADE982CADE53?key=1621016278044                            Exhibit 8 - Page 8                        1/1
